Case 2:06-cr-00121-JES-D_F Document 221 Filed 01/08/08 Page 1 of 5 PageID 488




                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                    FT. MYERS DIVISION
   UNITED STATES OF AMERICA,

                                 Plaintiff

   -vs-                                                           Case No. 2:06-cr-121-FtM-29DNF

   HOWARD HENRY, SHEILA HENRY
   and QUITIN HENRY a/k/a Quintin Henry,

                           Defendants.
   _________________________________________

                              REPORT AND RECOMMENDATION

   TO THE UNITED STATES DISTRICT COURT

          This matter is before the Court on the issue of the amount of restitution to be imposed. On

   November 9, 2007, the Honorable John E. Steele, United States District Judge entered an Order (Doc.

   165) which referred the issue of restitution as to the Defendants, Howard Henry, Sheila Henry, and

   Quitin Henry to this Court to conduct an evidentiary hearing and to prepare a Report and

   Recommendation as to the amount of restitution to be imposed. The Court held an evidentiary hearing

   on January 8, 2008. No victims appeared at the hearing.

          Pursuant to the Judgment (Doc. 158), the Defendant, Howard Henry was sentenced to a term

   of 48 months as to Count Seven of the Indictment (Doc. 2) to be served concurrently with the sentence

   imposed in the Southern District of Florida, Case Number 113C 0:04CR60200. (Doc. 158, p. 2).

          Pursuant to the Judgment (Doc. 157), the Defendant, Sheila Henry was sentenced to a term of

   48 months as to Count Seven of the Indictment (Doc. 2) to be served concurrently with the sentence

   imposed in the Southern District of Florida, Case Number 113C 0:04CR60200.. (Doc. 157, p. 2).
Case 2:06-cr-00121-JES-D_F Document 221 Filed 01/08/08 Page 2 of 5 PageID 489




           The Defendant, Quitin Henry is schedule to be sentenced on January 14, 2008. Quitin Henry

   entered a plea of guilty on July 9, 2007 to Count Three of the Indictment. His plea of guilty was

   accepted and he was adjudicated guilty as to Count Three of the Indictment on July 10, 2007. (See,

   Doc. 123).

           A court is required to order restitution to each victim for the full amount of each victim’s loss

   without consideration of the economic circumstances of the defendant. 18 U.S.C. §3664(f)(1)(A).

   Any dispute as to the amount of restitution must be determined by the Court by a preponderance of

   the evidence. 18 U.S.C. §3664(e). The Government has the burden of demonstrating the amount of

   the loss as a result of the offense. Id.

           The Government provided two claims as to victims in this action. The first claim was in the

   Amount of $596.00 for the victims Armando Garcia and Dulce M. Consul-Garcia. These victims

   provided the Government with a letter supporting their claim asserting that they lost $596.00 in closing

   costs due to the fraudulent transaction. At the hearing, Probation Officer Janet Zuk provided an

   address for the property of these victims of 1520 Lake Ave., Lehigh Acres, FL. Howard Henry, Sheila

   Henry, and Quitin Henry did not object to the amount of $596.00 as restitution.

           The second claim the Government presented was for victim, Norma J. Handley. Ms. Handley

   is requesting that she be reimbursed for attorney’s fees and costs she incurred due to the fraud

   perpetrated by the Defendants on her property. Ms. Handley provided documentation to support her

   claim for attorney’s fees and costs in the amount of $4,971.22. Ms. Handley claims that she would also

   like to be reimbursed for other expenses she incurred, however she failed to substantiate these claims

   with any documentation.




                                                      -2-
Case 2:06-cr-00121-JES-D_F Document 221 Filed 01/08/08 Page 3 of 5 PageID 490




           Howard Henry and Sheila Henry objected to the Court imposing restitution in the amount of

   $4,971.22. These Defendants asserted that they were not involved in any transaction regarding this

   specific property. The Indictment (Doc. 2) sets forth a Scheme to Defraud involving all of the

   Defendants jointly. Further, the Plea Agreements (Doc. 106, 107) provide that the Howard Henry and

   Sheila Henry jointly participated in a scheme to defraud with other individuals. (Doc. 106, p. 2; Doc.

   107, p. 2).

           Pursuant to 18 U.S.C. §3664(h),

           If the court finds that more than 1 defendant has contributed to the loss of a victim, the
           court may make each defendant liable for payment of the full amount of restitution or
           may apportion liability among the defendants to reflect the level of contribution to the
           victim’s loss and economic circumstances of each defendant.

   The Court has discretion to determine whether co-defendants are required to pay restitution jointly or

   severally. Williams v. U.S., 231 Fed.Appx. 939, 941 (11th Cir. 2007). In the instant case, all of the

   Defendants participated in the scheme to defraud victims, therefore, all of the Defendants are jointly

   and severally liable for the restitution of the victims.

           Quitin Henry asserted that attorney’s fees may not appropriately be a part of restitution. In this

   case, however, to make the victim Norma Handley whole, she was required to hire counsel to clear title

   to her property. Further, the Honorable John E. Steele, United States District Judge entered an Order

   (Doc. 198) on the issue of restitution as to Co-Defendant Omar Dalberry, and Judge Steele found that

   Ms. Handley’s claim for attorney fees and costs of $4,971.22 was appropriate and awarded restitution

   to Ms. Handley in that amount.1


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             In his Order, Judge Steele also discussed the claim of Commonwealth Land Title
   Insurance Company in the amount of $52,001.00 to Breene, Inc. The claim to Breene had not been
   resolved at the time that Judge Steele entered his Order (Doc. 198) on December 10, 2007. Judge
   Steele found that since the amount had not been determined, the need to avoid prolonging the

                                                       -3-
Case 2:06-cr-00121-JES-D_F Document 221 Filed 01/08/08 Page 4 of 5 PageID 491




          The Government met its burden by a preponderance of the evidence of demonstrating the

   amount of loss for the claim of Armando Garcia and Dulce M. Consul-Garcia in the amount of $596.00

   and for the claim of Norma Handley in the amount of $4,971.22.

           The Court respectfully recommends the following:

          1) The District Court enter an amended judgment and as to the Defendant, Howard Henry and

   impose restitution jointly and severally in favor of Norma Handley and against the Defendant, Howard

   Henry in the amount of $4971.22; and impose restitution jointly and severally in favor of Armando

   Garcia and Dulce M. Consul-Garcia and against Howard Henry in the amount of $596.00.

          2) The District Court enter an amended judgment and as to the Defendant, Sheila Henry and

   impose restitution jointly and severally in favor of Norma Handley and against the Defendant, Sheila

   Henry in the amount of $4971.22; and impose restitution jointly and severally in favor of Armando

   Garcia and Dulce M. Consul-Garcia and against Sheila Henry in the amount of $596.00.

          3) The District Court enter judgment after sentencing and as to the Defendant Quitin Henry

   and impose restitution jointly and severally in favor of Norma Handley and against the Quitin Howard

   Henry in the amount of $4971.22; and impose restitution jointly and severally in favor of Armando

   Garcia and Dulce M. Consul-Garcia and against Quitin Henry in the amount of $596.00.




   sentencing process outweighed the need to provide restitution to Commonwealth Land Title
   Insurance Company. At the hearing held on January 8, 2008 for Howard Henry, Sheila Henry and
   Quitin Henry, the Government did not raise the claim of Commonwealth Land Title Insurance
   Company. Further, the Court has no additional information as to the exact amount of loss for
   Commonwealth Land Title Insurance Company. This Court follows Judge Steele’s reasoning that
   the need not to prolong the sentencing process outweighs the need to provide restitution to
   Commonwealth Land title Insurance Company, and therefore, the Court will decline to include this
   claim in its Report and Recommendation.

                                                   -4-
Case 2:06-cr-00121-JES-D_F Document 221 Filed 01/08/08 Page 5 of 5 PageID 492




           Failure to file written objections to the proposed findings and recommendations contained in

   this report within ten (10) days from the date of its filing shall bar an aggrieved party from attacking

   the factual findings on appeal.

           Respectfully recommended in Chambers in Ft. Myers, Florida this        8th      day of January,

   2008.




   Copies: All Parties of Record




                                                     -5-
